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           ORDERED in the Southern District of Florida on December 20, 2024.




                                                            Laurel M. Isicoff, Judge
                                                            United States Bankruptcy Court
___________________________________________________________________________
                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                                  www.flsb.uscourts.gov


            In re:
                                                                          Chapter 11

            IVANKOVICH FAMILY LLC,                                        Case No. 24-15755-LMI
            A&O FAMILY LLC (Florida),                                             24-15762-LMI
            A&O FAMILY LLC (Illinois),                                            24-15767-LMI
            ATLAS P2 MANAGING MEMBER, LLC,                                        24-15770-LMI
                                                                          (Jointly Administered)

                  Debtors.
            ____________________________________/


                               ORDER ADMITTING ATTORNEY PRO HAC VICE

             This matter came before the court without a hearing on the Ex Parte Motion to Appear Pro
             Hac Vice [ECF No. 207]. The court having reviewed the motion and good cause appearing, it
             is


             ORDERED that Matthew D. Elster (“Visiting Attorney”) may appear before this court pro
             hac vice as counsel for Steven Ivankovich (“Client”) in this case and in each adversary
             proceeding in this case where Visiting Attorney appears on behalf of Client, subject to the
             local rules of this court. Visiting Attorney shall include the certification required by Local
             Rule 9011-4(B)(2) in all papers filed with this court.

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Visiting Attorney may apply to become a registered user of CM/ECF in this district with full
filing privileges in this case and in any other case in which this court has entered an
order admitting Visiting Attorney pro hac vice.


The following attorney (“Local Attorney”) is designated as the attorney qualified to practice in
this court with whom the court and other counsel may readily communicate and upon whom
papers may be served:
                                 Michael S. Budwick, Esquire
                                   Florida Bar No. 938777
                               mbudwick@melandbudwick.com
                                 MELAND BUDWICK, P.A.
                               3200 Southeast Financial Center
                                200 South Biscayne Boulevard
                                    Miami, Florida 33131
                                  Telephone: (305) 358-6363
                                  Facsimile: (305) 358-1221

Local Attorney shall act as the local attorney as required by Local Rule 2090-1(C)(2) in this
case and in each adversary proceeding in this case in which the Visiting Attorney appears on
behalf of the Client(s).   If Local Attorney declines to serve as the local attorney in any
such adversary proceeding, a separate local attorney must file an additional Motion to Appear
Pro Hac Vice, and absent such separate motion and an order of this court approving the same
Local Attorney will continue to act as local attorney for the Client(s) in all such proceedings.


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Submitted by:
Michael S. Budwick, Esquire
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Telephone: (305) 358-6363
Facsimile: (305) 358-1221

COPIES TO:
Michael S. Budwick, who shall serve a copy of this order on the United States Trustee, all
parties who have filed appearances in this case, and all parties who have appeared in each
applicable adversary proceeding, and shall file a certificate of service thereof.




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